Case No. 1:08-cv-01745-WYD-MEH Document 1-4 filed 08/15/08 USDC Colorado pg1of1

@aJ$ 44 (Rev. 12/07)

by local rules of court. This form, approved by the Judicial Conference o:
(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sup
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he United

plement the filing and service of pl cadings or other

apers as required by law, except as provided

tates in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

IL (a) PLAINTIFFS

Union Pacific Railroad Company

(b) County of Residence of First Listed Plaintiff Douglas Co., NE
(EXCEPT IN U.S. PLAINTIFF CASES}

DEFENDANTS

{ce} Attorney’s (Firm Name, Address, and Telephone Number) (402) 397-7300
Kyte Wallor, Lamson Dugan and Murray LLP
10306 Regency Parkway Drive, Omaha NE 68114

NOTE:

Aftomeys (If Known)

County of Residence of First Listed Defendant

Polaris Explorer, USA, Inc.

Arapahoe Co., CO

(IN U.S. PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

Hi. BASIS OF JURISDICTION

Of U.S. Government

Plaintiff

O2 U.S. Government
Defendant

O13 Federal Question

(U.S. Government Not a Party)

x 4 Diversity

(Indicate Citizenship of Parties in Item IT}

(Piace an “X” in One Box Only)

HI, CITIZENSHIP OF PRINCIPAL PARTIES @iace an “x” in One Box for Plaintiff

(For Diversity Cases Only} and One Box for Defendant}
PTF DEF PTF DEF
Citizen of This State 01 O I Incorporated or Principal Place D4 Ks
of Business In This State
Citizen of Another State © 2 © 2 Incorporated and Principal Place x 5 75
of Business In Another State
Citizen or Subject of a 03 © 3 Foreign Nation 06 96

Foreign Country

WV. NATURE OF SUIT

CONTRA TORTS ANKRUPTCY. |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture 0 422 Appeal 28 USC 158 400 State Reappertionment
0 120 Marine O 310 Airplane & 362 Personal Injury - O 620 Other Food & Drug © 423 Withdrawal 0 410 Antitrust
© 130 Miller Act O 315 Airplane Product Med, Malpractice O 625 Drug Related Seizure 28 USC 557 © 430 Banks and Banking
© 140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 450 Commerce
D 150 Recovery of Overpayment {1 326 Assault, Libel & Product Liability O 630 Liquor Laws Pee. BI 1 460 Deportation
& EnforcementofJudgment Slander & 368 Asbestos Personal §=[C] 640. R.R. & Truck O 820 Copyrights O 470 Racketeer Influenced and
O 151 Medicare Act OF 330 Federal Employers’ Tajury Product CO 650 Airline Regs. O 830 Patent Corrupt Organizations
CO] 152 Recovery of Defaulted Liability Liability ©] 660 Cccupational O 840 Trademark 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl. Veterans) O 345 Marine Product 370 Other Fraud 0) 690 Other O 819 Selective Service
0 153 Recovery of Overpayment Liability © 37] Truth in Lending i JABOR: SE SOGTAL: ; 2]07 850 Securities/Commodities/
of Veteran’s Benefits & 350 Motor Vehicle OF 380 Other Personal ©) 710 Fair Labor Standards O 861 AIA (1395 Exchange
160 Stockholders’ Suits fF 355 Motor Vehicle Property Darnage Act & 862 Black Lung (923) & 875 Customer Challenge
190 Other Contract Product Liability O 385 Property Damage OF 720 Labor/Mgmt Relations [iF 863 DIWC/DIWW (405(6)) 12 USC 3416
© 195 Contract Product Liability |7! 360 Other Personal Product Liability OG 730 Labor/Mgmt.Reporting |O0 864 SSID Title XVI J 890 Other Statutory Actions
0 196 Franchise Injury & Disclosure Act (7 865 RSI (405(g)) 0 891 Agricultural Acts
22 EREAL PROPERTY. : FEL REG PRISONER PETITIONS: {C0} 740 Railway Labor Act “| FEDERAL TAX SUITS {0 892 Economic Stabilization Act
© 210 Land Condemnation 441 Vating ($10 Motiens to Vacate | 790 Other Labor Litigation OG 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
0 220 Foreclosure O 442 Employment Sentence CF 791 Empl. Ret, Inc. or Defendant) QO 894 Energy Allocation Act
O 230 Rent Lease & Ejectment [0 443 Honsing/ Habeas Corpus: Security Act O 871 IRS-Third Party (1 895 Freedom of Information
O 240 Torts to Land Accommodations (J 530 General 26 USC 7609 Act
©) 245 Tort Preduct Liability 0 444 Welfare 535 Beath Penalty IMMIGRATION::: fe 0 900Appeat of Fee Determination
O 290 All Other Real Property [O 445 Amer. w/Disabilities - [0 540 Mandamus & Other [J 462 Naturalization Application Under Equal Access
Employment C550 Civil Rights 0 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee © 950 Constitutionality of
Other 0 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions
V. ORIGIN (Place an “X" in One Box Only) / Appeal to District
CK Originat O 2 Removed from O 3. Remanded from O 4 Reinstatedor O § Transferred from 46 Multidistrict =O 7 i Be from
Proceeding State Court Appellate Court Reopened (specify) ssirict Litigation Tadement

VL CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing {De not cite jurisdictional statutes unless diversity):

28 USC § 1332(a}{1)

Brief description of cause:

Action to collect past due flagging charges

VII. REQUESTED IN 0 CHECK IF THIS 1S A CLASS ACTION DEMANDS 336,764.30 CHECK YES only if demanded in compiaint:
COMPLAINT: UNDER F.R.C.P, 23 JURY DEMAND: Oves CKNo
VHI. RELATED CASE(S) See oy
IF ANY {See instructions): UNGE DOCKET NUMBER
DATE IGNATURE OF ATTORNEY OF RECOR,
we ite walor
FOR OFFICE USE ONLY
RECEIPT # AMOUNT (Yow IFF JUDGE MAG, JUDGE

